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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

ALFRED BOURGEOIS                    :
                                    :
                        Plaintiff,  :
                                    :
                   V.               :                Civil Action No. 1:12-cv-00782-TSC
                                    :
UNITED STATES DEPARTMENT            :
 OF JUSTICE, et al.,                :
                                    :
                        Defendants. :
___________________________________

             MOTION FOR PRELIMINARY INJUNCTION BARRING THE
               EXECUTION OF PLAINTIFF ALFRED BOURGEOIS

       Plaintiff Alfred Bourgeois moves the Court to enter a preliminary injunction pursuant to

Fed. R. Civ. P. 65(a), so as to enjoin the Defendants from carrying out the scheduled execution

of Mr. Bourgeois on January 13, 2020, or at any other time until further order of this Court. The

Court should enter a preliminary injunction for the reasons stated in the accompanying Statement

of Points and Authorities, and thereby afford to Plaintiff Bourgeois the same relief it has afforded

to Plaintiffs Roane, Tipton, Johnson, Webster, Battle, Hall, and Paul. Pursuant to Local Rule

7(m), counsel have conferred with each other concerning this motion, and Defendants advise that

they oppose a preliminary injunction.

Dated: 8/19/2019                              Respectfully Submitted,


                                              /s/ Alex Kursman
                                              Alex Kursman, Assistant Federal Defender,
                                                Pro Bono Counsel Pursuant to Local Rule 83.2(g)
                                              Shawn Nolan, Chief, Capital Habeas Unit
                                              Federal Community Defender Office, E.D. Pa.
                                              601 Walnut Street, Suite 545 West
                                              Philadelphia, PA 19106
                                              Telephone - 215-928-0520
                                              Email – alex_kursman@fd.org

                                              Counsel for Plaintiff Alfred Bourgeois
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                               CERTIFICATE OF SERVICE
       I certify that on August 19, 2019, a copy of the foregoing Motion for Preliminary

Injunction was filed using the CM/ECF system, which will then send notification of such filing

to all counsel of record.


                                            /s/ Alex Kursman
                                            Alex Kursman, Assistant Federal Defender,
                                              Pro Bono Counsel Pursuant to Local Rule 83.2(g)
                                            Shawn Nolan, Chief, Capital Habeas Unit
                                            Federal Community Defender Office, E.D. Pa.
                                            601 Walnut Street, Suite 545 West
                                            Philadelphia, PA 19106
                                            Telephone - 215-928-0520
                                            Email – alex_kursman@fd.org
                                            Email – shawn_nolan@fd.org

                                            Counsel for Plaintiff Alfred Bourgeois
